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     Attorneys for Defendant
 7   INTEGON NATIONAL INSURANCE
 8   COMPANY

 9   [Additional counsel on signature page]
10
                            UNITED STATES DISTRICT COURT
11
                          EASTERN DISTRICT OF CALIFORNIA
12
     JOHN CASTORINA,                          Case No. 2:21-CV-02004-WBS-KJN
13   individually and on behalf of all
     others similarly situated,               STIPULATION TO EXTEND TIME
14                                            FOR DEFENDANT INTEGON
15                      Plaintiff,            NATIONAL INSURANCE COMPANY
                                              TO RESPOND TO COMPLAINT AND
16         v.                                 SET BRIEFING SCHEDULE FOR
                                              DEFENDANTS’ MOTIONS TO
17   BANK OF AMERICA, N.A. and                DISMISS; ORDER
     INTEGON NATIONAL
18   INSURANCE COMPANY,
                                              HON. WILLIAM B. SHUBB
19                      Defendants.
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                         STIPULATION TO EXTEND TIME TO RESPOND TO
                 COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTIONS TO DISMISS
                                 CASE NO. 2:21-CV-02004-WBS-KJN
 1       STIPULATION TO EXTEND TIME FOR DEFENDANT INTEGON
 2   NATIONAL INSURANCE COMPANY TO RESPOND TO COMPLAINT AND
     SET BRIEFING SCHEDULE FOR DEFENDANTS’ MOTIONS TO DISMISS
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 4         Defendants Integon National Insurance Company (“Integon”) and Bank of
 5   America, N.A. (“BANA” and with Integon, “Defendants”) and Plaintiff John
 6   Castorina (“Plaintiff”) (and with Defendants, the “Parties”), through their undersigned
 7   counsel, hereby submit this Stipulation to Extend Time for Integon to Respond to
 8   Complaint and Set Briefing Schedule for Defendants’ Motions to Dismiss as follows:
 9         1.      Plaintiff filed the Complaint in this matter on October 29, 2021.
10         2.      On November 3, 2021, Plaintiff served the Complaint upon the registered
11   agent for Bank of America, N.A., CT Corporation System.
12         3.      On November 3, 2021, Plaintiff represents that he served the Complaint
13   upon the registered agent for Integon, Corporation Service Company. Integon was
14   informed that for unknown reasons Corporation Service Company does not have a
15   record of the claimed November 3 service, and the Complaint was not directly
16   received by Integon at the time of service. Notwithstanding, Counsel for Integon and
17   Plaintiff have met and conferred and agreed to a response date of March 7, 2022, for
18   Integon to answer or otherwise respond to the Complaint.
19         4.      BANA and Plaintiff previously agreed to a response date and briefing
20   schedule for BANA’s anticipated motion to dismiss. BANA and Plaintiff submitted a
21   joint stipulation, and on November 17, 2021, the Court ordered as follows:
22         BANA shall answer or otherwise respond to the Complaint on or before
           January 12, 2022, and should BANA move to dismiss the Complaint, Plaintiff’s
23
           response brief will be due on or before February 23, 2022, and BANA’s reply
24         brief will be due on or before March 16, 2022. Hearing on said motion (if filed)
25         shall be set for March 21, 2022 at 1:30 p.m. The Scheduling Conference is
           continued to May 9, 2022 at 12:30 p.m. A joint status report shall be filed no
26         later than April 25, 2022.
27   (Dkt. #13.)
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                           STIPULATION TO EXTEND TIME TO RESPOND TO
                   COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTIONS TO DISMISS
                                   CASE NO. 2:21-CV-02004-WBS-KJN
 1         5.     BANA’s motion to dismiss was filed on January 12, 2022. (Dkt. # 15.)
 2         6.     Integon intends to move to dismiss the Complaint.
 3         7.     The Parties have met and conferred and agreed that in the interest of
 4   judicial economy and to preserve the resources of the Court and the Parties, it is
 5   desirable to coordinate the briefing schedules and hearing date for BANA’s motion to
 6   dismiss, which was filed on January 12, 2022, and Integon’s anticipated motion to
 7   dismiss.
 8         8.     Counsel for the Parties conferred and agreed on the following briefing
 9   schedule, subject to the Court’s approval:
10                a.    Plaintiff’s opposition brief to BANA’s motion to dismiss will be
11                      due on or before March 21, 2022, and BANA’s reply brief will be
12                      due on or before April 11, 2022.
13                b.    Integon’s response to Plaintiff’s Complaint will be submitted on or
14                      before March 7, 2022. Should Integon move to dismiss the
15                      Complaint, Plaintiff’s opposition brief to Integon’s motion to
16                      dismiss will be due on or before March 21, 2022, and Integon’s
17                      reply brief will be due on or before April 11, 2022.
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                         STIPULATION TO EXTEND TIME TO RESPOND TO
                 COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTIONS TO DISMISS
                                 CASE NO. 2:21-CV-02004-WBS-KJN
 1            9.    The hearing on BANA’s motion to dismiss is scheduled for March 21,
 2   2022 at 1:30 p.m. (Dkt. #15; Dkt. #13.) Subject to the Court’s availability, the Parties
 3   have agreed to continue the hearing on BANA’s motion to dismiss to April 18, 2022 at
 4   1:30 p.m., or as soon thereafter as the matter may be heard in the above-captioned
 5   Court.
 6            10.   Should Integon move to dismiss the Complaint, Integon will notice its
 7   motion to dismiss for April 18, 2022 at 1:30 p.m., or as soon thereafter as the matter
 8   may be heard in the above-captioned Court, to allow for BANA’s and Integon’s
 9   motions to dismiss to be heard at the same time.
10            11.   There have been no previous extensions of time for Integon to respond to
11   the Complaint.
12            12.   BANA’s initial response to the Complaint was extended with approval of
13   the Court to January 12, 2022, (Dkt. #13), and BANA timely-filed its motion to
14   dismiss, (Dkt. # 15).
15            Accordingly, it is hereby agreed to and stipulated by the Parties, and
16   respectfully requested that the Court order that:
17            The hearing on BANA’s motion to dismiss (Dkt. #15) is continued to April 18,
18   2022 at 1:30 p.m. Plaintiff’s opposition brief to BANA’s motion to dismiss will be
19   due on or before March 21, 2022, and BANA’s reply brief will be due on or before
20   April 11, 2022.
21            Integon shall answer or otherwise respond to the Complaint on or before March
22   7, 2022; and should Integon move to dismiss the Complaint, Plaintiff’s opposition
23   brief will be due on or before March 21, 2022, and Integon’s reply brief will be due on
24   or before April 11, 2022. Hearing on said motion (if filed) shall be set for April 18,
25   2022 at 1:30 p.m.
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                            STIPULATION TO EXTEND TIME TO RESPOND TO
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                                    CASE NO. 2:21-CV-02004-WBS-KJN
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                   STIPULATION TO EXTEND TIME TO RESPOND TO
           COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTIONS TO DISMISS
                           CASE NO. 2:21-CV-02004-WBS-KJN
 1                                               ORDER
 2         IT IS SO ORDERED:
 3         The hearing on BANA’s motion to dismiss (Dkt. #15) is continued to April 18,
 4   2022 at 1:30 p.m. Plaintiff’s opposition brief to BANA’s motion to dismiss will be
 5   due on or before March 21, 2022, and BANA’s reply brief will be due on or before
 6   April 11, 2022.
 7         Integon shall answer or otherwise respond to the Complaint on or before March
 8   7, 2022; and should Integon move to dismiss the Complaint, Plaintiff’s opposition
 9   brief will be due on or before March 21, 2022, and Integon’s reply brief will be due on
10   or before April 11, 2022. Hearing on said motion (if filed) shall be set for April 18,
11   2022 at 1:30 p.m.
12         The Scheduling Conference will remain May 9, 2022 at 1:30 p.m. A joint status
13   report shall be filed no later than April 25, 2022.
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15   Dated: February 15, 2022
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18   Respectfully submitted,

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     Dated: February 15, 2022                WINSTON & STRAWN LLP
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21                                           By:
                                                   MARGARET E. DAYTON
22                                                 Attorneys for Defendant
                                                   Integon National Insurance Company
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                         STIPULATION TO EXTEND TIME TO RESPOND TO
                 COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTIONS TO DISMISS
                                 CASE NO. 2:21-CV-02004-WBS-KJN
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                                   Attorneys for Plaintiff
23                                 John Castorina
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             STIPULATION TO EXTEND TIME TO RESPOND TO
     COMPLAINT AND SET BRIEFING SCHEDULE FOR MOTIONS TO DISMISS
                     CASE NO. 2:21-CV-02004-WBS-KJN
 1                              CERTIFICATE OF SERVICE
 2         I HEREBY CERTIFY that a true and correct copy of the foregoing was
 3   electronically filed on February 15, 2022, with the Clerk of the Court using CM/ECF
 4   which caused a copy to be served on all counsel of record.
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     Dated: February 15, 2022             By:
 7                                        Margaret E. Dayton
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